     Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 1 of 15




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION

ARENA IP, LLC,

           Plaintiff,

v.                                  Civil Action No. 6:23-cv-054-DAE

VERIZON COMMUNICATIONS, INC.,

           Defendant.               JURY TRIAL DEMANDED



        VERIZON COMMUNICATIONS INC.’S MOTION TO DISMISS
         PLAINTIFF’S COMPLAINT FOR IMPROPER VENUE AND
                    FAILURE TO STATE A CLAIM
         Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 2 of 15




                                              TABLE OF CONTENTS

                                                                                                                              Page

I.     FACTUAL AND PROCEDURAL BACKGROUND.........................................................1

II.    VENUE IS NOT PROPER IN THIS DISTRICT ................................................................3

       A.        Legal Standard for Venue ....................................................................................... 4

       B.        Verizon Does Not “Reside” in This District ........................................................... 4

       C.        Arena Does Not Provide Any Specific Factual Allegations That Verizon
                 Has Committed Acts of Infringement In This District. .......................................... 4

III.   ARENA’S COMPLAINT FAILS TO STATE A CLAIM FOR RELIEF ...........................5

       A.        Legal Standard For Failure To State A Claim ........................................................ 5

       B.        Arena’s Complaint Fails to Identify a Specific Accused Verizon Product ............ 6

       C.        Arena’s Complaint Fails to Allege Facts Sufficient to Create a Plausible
                 Inference that Each Element of the Claim is Infringed........................................... 9

IV.    CONCLUSION ..................................................................................................................11




                                                               i
             Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 3 of 15




                                                 TABLE OF AUTHORITIES

Cases

Aeritas, LLC v. Darden Corp., No. 6:20-cv-00938-ADA, 2021 WL 4868430
   (W.D. Tex. Oct. 18, 2021) .........................................................................................................1

Andra Grp., LP v. Victoria’s Secret Stores, L.L.C., 6 F.4th 1283 (Fed. Cir. 2021) ........................4

Ashcraft v. Iqbal, 56 U.S. 652, 678 (2009) .................................................................................. 5-6

Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) .....................................................................5

CPC Patent Techs. PTY v. Apple Inc., No. 6:21-cv-00165-ADA, 2022 WL
  118955 (W.D. Tex. Jan. 12, 2022)..................................................................................... 6, 8-9

De La Vega v. Microsoft Corp., No. 6:19-cv-00612, 2020 WL 3528411 (W.D.
   Tex. Feb. 11, 2020) ..................................................................................................................11

Estech Sys., Inc. v. Regions Financial Corp., No. 6:20-cv-00322-ADA, 2020 WL
   6324321 (W.D. Tex. Oct. 28, 2020) ............................................................................... 5-6, 8-9

TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 137 S. Ct. 1514 (2017) ...........................1, 4

Vervain, LLC v. Micro Tech., Inc., No. 6:21-cv-00487-ADA, 2022 WL 23469
   (W.D. Tex. Jan. 3, 2022) ........................................................................................................6, 9

Westech Aerosol Corp. v. 3M Co., 927 F.3d 1378 (Fed. Cir. 2019) ................................................5

In re ZTE (USA) Inc., 890 F.3d 1008 (Fed. Cir. 2018) ....................................................................4

Statutes

28 U.S.C. §1400(a) ..........................................................................................................................4

28 U.S.C. §1400(b) .................................................................................................................. 1, 3-5

28 U.S.C. §1406(a) .................................................................................................................. 1, 3-4

35 U.S.C. § 271(a) ...........................................................................................................................7

Other Authorities

FED. R. CIV. P. 8 ...............................................................................................................................5

FED. R. CIV. P. 12(b)(3) ................................................................................................................1, 3




                                                                       ii
           Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 4 of 15




       Venue as alleged in the Complaint is not proper in this District for Defendant Verizon

Communications Inc. (“Verizon”) and therefore this case should be dismissed. Plaintiff Arena IP,

LLC (“Arena”) does not allege that Verizon has committed acts of infringement in this District.

28 U.S.C. §1400(b); TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 137 S. Ct. 1514 (2017).

Rather, Arena’s sole factual allegation of infringement recites actions at Raymond James stadium

in Tampa, Florida. Thus, the Court should dismiss this case for lack of proper venue.

       Additionally, pursuant to Federal Rule of Civil Procedure Rule 12(b)(3) and 28 U.S.C.

§1406(a), Verizon respectfully requests dismissal of Arena’s Complaint, which is filled with naked

assertions devoid of any factual support. It should thus be dismissed because it fails to serve its

fundamental purpose—to provide fair notice of the factual bases for its allegations that each

element of the asserted claim is infringed.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       On January 27, 2023, Arena sued Verizon, accusing Verizon of infringing U.S. Patent No.

8,320,820 (the “’820 Patent” or “Patent-in-Suit”). Dkt. 1. Arena’s Complaint acknowledges that

Verizon is a Delaware corporation. Id. ¶ 2. Arena asserts that Verizon has a regular and established

place of business at 907 W 5th Street, Suite 703, Austin, Texas 78703 and “sells and offers to sell

products and services throughout Texas, including in this judicial district, and introduces products

and services that perform infringing methods or processes into the stream of commerce knowing

that they would be sold in Texas and this judicial district.” Id. This 5th Street Austin, Texas address

is     a       Verizon       Business         Services      location       as      listed      online:

https://www.verizon.com/local/tx/austin/907-w-5th-st (last visited April 4, 2023). 1 The Complaint



1
        “In determining whether venue is proper, ‘the [C]ourt is permitted to look at evidence in
the record beyond simply those facts alleged in the complaint and its proper attachments.’” Aeritas,
LLC v. Darden Corp., No. 6:20-cv-00938-ADA, 2021 WL 4868430, at *1 (W.D. Tex. Oct. 18,
           Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 5 of 15




also references unidentified intermediaries of Verizon who purportedly infringe and conduct or

solicit business, “engaging in other persistent courses of conduct and/or deriving substantial

revenue from goods and services provided to individuals in Texas and this District.” Id. ¶5.

       Arena’s infringement allegations accuse “Defendant’s Accused Systems (e.g., wireless

communicate data, including video captured throughout a venue, to hand held devices throughout

the venue via two or more nodes) such as to cause infringement of at least claim 15 of the ‘820

patent, literally or under the doctrine of equivalents.” Id. ¶10. Arena’s Complaint alleges that

Verizon:

       maintains, operates, and administers systems that provide nodes to wirelessly
       communicate data, including video captured throughout a venue, to hand held
       devices throughout the venue, that infringes one or more claims of the ’820 patent,
       including claim 15, literally or under the doctrine of equivalents.

Id. ¶ 8. According to Arena, Verizon directly infringes Claim 15 when it “put the inventions

claimed by the ’820 Patent into service (i.e., used them).” Id. Arena does not identify the accused

systems that Verizon allegedly “maintains, operates, and administers” or put “into service.”

Instead, Arena alleges that “[s]upport for the allegations of infringement may be found in the

following preliminary table included as Exhibit A.” Id. ¶ 9.

       Claim 15 of the ’820 Patent, as broken out in Exhibit A, includes a recitation of a public

“venue” in each claim element:

               A system supporting the communications of video and data to hand held
               wireless devices located throughout a public venue,

               comprising more than one self-contained pod including wireless
               communications electronics and an integrated antennae operating as a
               wireless access point [and] deployed as a matrix of communications nodes




2021) (quoting Ambraco, Inc. v. Bossclip B.V., 570 F.3d 233, 238 (5th Cir. 2009) (alteration in
original).

                                                2
         Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 6 of 15




               throughout the public venue to provide enhanced wireless communications
               capacity throughout the sports and entertainment venue and

               to support bi-directional communication of the hand held wireless
               communication device used by spectators located throughout the sports and
               entertainment venue and

               provide data including video from at least one server accessed over a data
               network through said at least one contained in a self-contained pod by said
               hand held wireless devices located throughout the public venue.

Exhibit A to the Complaint is a four-page chart that includes the claim limitations on the left, and

a description of the alleged infringement on the right. The right column repeats the claim language

and includes screenshots of marketing material related to Verizon’s accused product.

       Notably, Arena’s sole factual allegation of the location of infringement (the claimed “sports

and entertainment venue”) is in Florida, not Texas:




Dkt. 1-1 at 2 (emphasis in original).

II.    VENUE IS NOT PROPER IN THIS DISTRICT

       Venue as alleged in the Complaint is improper in this District under both prongs of §

1400(b). First, Verizon is a Delaware corporation, as the Complaint avers, and thus does not

“reside” in this District. Second, the Complaint does not provide any factual allegations to support

its conclusory legal statements that Verizon is committing acts of infringement in this District.

Verizon respectfully requests that the Court grant its motion and dismiss this case. FED. R. CIV. P.

12(b)(3); 28 U.S.C. § 1406(a).


                                                3
         Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 7 of 15




       A.      Legal Standard for Venue

       In a patent case, venue is proper only “[1] in the judicial district where the defendant

resides, or [2] where the defendant has committed acts of infringement and has a regular and

established place of business.” 28 U.S.C. § 1400(b) (emphasis added); TC Heartland LLC v. Kraft

Foods Grp. Brands LLC, 137 S. Ct. 1514 (2017). When applied to domestic corporations, the first

prong of section §1400(b) “refers only to the State of incorporation.” TC Heartland, 137 S. Ct. at

1521; Andra Grp., LP v. Victoria’s Secret Stores, L.L.C., 6 F.4th 1283, 1287 (Fed. Cir. 2021). The

second prong of Section § 1400(b) requires a plaintiff to show that the alleged infringer committed

acts of infringement in the district and maintains a regular and established place of business in the

District. Andra Grp, 6 F.4th at 1287.

       Once a defendant challenges the propriety of venue, the burden shifts to plaintiff to prove

whether venue is proper. In re ZTE (USA) Inc., 890 F.3d 1008, 1013 (Fed. Cir. 2018). If venue is

improper under § 1400(b), the Court “shall dismiss, or if it be in the interest of justice, transfer

such case to any district or division in which it could have been brought.” 28 U.S.C. § 1406(a).

       B.      Verizon Does Not “Reside” in This District

       Arena’s allegations in its Complaint make clear that Verizon does not reside in this District

for the purposes of the first prong of § 1400(b). See Section I, supra. Verizon is a Delaware

corporation. Id. Thus, Arena cannot establish venue based on Verizon’s residency under 28

U.S.C. §1400(a). See also TC Heartland, 137 S. Ct. at 1521.

       C.      Arena Does Not Provide Any Specific Factual Allegations That Verizon Has
               Committed Acts of Infringement In This District.

       Arena does not provide any specific factual allegation of infringement in this district. To

be clear, Arena’s Complaint parrots Section 1400(b) by stating that “Defendant has committed

acts of infringement and has a regular and established place of business in this District.” Dkt. 1, ¶


                                                 4
         Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 8 of 15




5. However, the Federal Circuit has already held that merely parroting the statute is insufficient.

Westech Aerosol Corp. v. 3M Co., 927 F.3d 1378, 1382 (Fed. Cir. 2019) (“Westech, in effect,

claims that in lieu of pleading facts, it is sufficient to parrot the language of § 1400(b). This is

incorrect.”) (emphasis added).

       Thus, the Court’s venue analysis must focus on the specific factual allegations related to

venue. Arena’s Complaint does not make any factual allegation of infringement in the Western

District of Texas. Rather, the sole factual allegation of infringement relates to Raymond James

Stadium in Tampa, Florida. See Dkt. 1-1 at 2. Such allegations are insufficient for venue in this

district. Because Arena does not allege any facts related to infringement in this District, the Court

should dismiss the Complaint.

III.   ARENA’S COMPLAINT FAILS TO STATE A CLAIM FOR RELIEF

       A.       Legal Standard For Failure To State A Claim

       Rule 8 requires that a plaintiff “provide enough information for the defendant[] to identify

the accused products and how they infringe on the asserted patent.” Estech Sys., Inc. v. Regions

Financial Corp., No. 6:20-cv-00322-ADA, 2020 WL 6324321, at *2 (W.D. Tex. Oct. 28, 2020)

(citing Chinsammy v. United States, 95 Fed. Cl. 21, 23 (2010)). The first part therefore requires

“a patent infringement Plaintiff to identify an accused product by name in most cases such that the

Defendant is on notice of what specific conduct is alleged to constitute infringement.” Id. “[A]s

a matter of law, there can be no infringement when Plaintiff has failed to identify an accused

product.” Id.

       Once an accused product has been identified, “the pleadings standards established by [Bell

Atlantic Corp. v. Twombly, 550 U.S. 544 (2007)] and [Ashcraft v. Iqbal, 56 U.S. 652, 678 (2009)]

require a plausible inference that an accused device meets all of the limitations of the asserted


                                                 5
         Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 9 of 15




claims.” Id.; see also CPC Patent Techs. PTY v. Apple Inc., No. 6:21-cv-00165-ADA, 2022 WL

118955, at *1 (W.D. Tex. Jan. 12, 2022) (“To allege direct infringement, the plaintiff must allege

facts sufficient to create a plausible inference that each element of the claim is infringed by the

accused products.”) (citing Kirsch Research and Dev., LLC v. Atlas Roofing Corp., No. 5:20-cv-

00055-RWS, 2020 WL 8363154, at *2 (E.D. Tex. Sept. 29, 2020)) (emphasis in original). It cannot

be said, however, that a direct infringement claim is “sufficiently pleaded so long as plaintiff

provides a claim chart or element-by-element mapping.” Vervain, LLC v. Micro Tech., Inc., No.

6:21-cv-00487-ADA, 2022 WL 23469, at *7 (W.D. Tex. Jan. 3, 2022).

       “A pleading offering ‘labels and conclusions’ or ‘a formulaic recitation of the elements of

a cause of action’ will not suffice.” Estech, 2020 WL 6324321, at *1 (quoting Twombly, 550 U.S.

at 555). Accordingly, a complaint does not comply with the pleading standard “if it tenders ‘naked

assertions’ devoid of ‘further factual enhancement.’” Id. (quoting Twombly, 550 U.S. at 557).

Instead, “the complaint must support its entitlement to relief with ‘factual content,’ not just

conclusory allegations that the accused product(s) meet every claim limitation.” Vervain, 2022

WL 23469, at *2. “If it is apparent from the face of the complaint that an insurmountable bar to

relief exists, and the plaintiff is not entitled to relief, the court must dismiss the claim.” CPC

Patent Techns., 2022 WL 118955, at *1 (quoting Chapterhouse, LLC v. Spotify, Inc., No. 2:18-cv-

00300-JRG, 2018 WL 6981828, at *1 (E.D. Tex. Dec. 11, 2018)).

       B.      Arena’s Complaint Fails to Identify a Specific Accused Verizon Product

       Neither the Complaint, nor the claim chart appended to the Complaint, identify a specific

Verizon product or system that is alleged to meet every element of Claim 15.

       Specifically, while the Complaint alleges that Claim 15 is infringed by a “system

supporting the communications of video and data to hand held wireless devices located throughout

a public venue” and that Verizon “maintains, operates, and administers” such a system, Arena has
                                                6
        Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 10 of 15




not actually identified any such system in the United States or provided any facts in support of

such an allegation, as required by 35 U.S.C. § 271(a). Indeed, although Arena’s Complaint uses

the capitalized terms “Accused Systems” and “Accused Products/Systems” in the context of

discussing its indirect infringement allegations (Dkt. 1, ¶¶ 10-11), it does not use those terms in

the direct infringement allegations. And, in any event, even in the indirect infringement context,

it does not actually provide a direct infringer or a definition of the accused “Systems” or

“Products/Systems.” At best, it alleges that the accused system can be used to “wirelessly

communicate data, including video captured throughout a venue, to hand held devices throughout

the venue via two or more nodes.” Dkt. 1, ¶ 10 (discussing induced infringement by instructing

users to “use Defendant’s Accused Systems (e.g., wirelessly communicate data, including video

captured throughout a venue, to hand held devices throughout the venue via two or more nodes)

such as to cause infringement of at least claim 15 of the ’820 patent, literally or under the doctrine

of equivalents.”). Such a generic allegation is facially untethered to any specific Verizon product

or system.

       Exhibit A, in turn, alleges, as to the first two claim limitations, that “Verizon Access Points

(antennas) allow handheld wireless devices to receive video and data at a public Venue” and

“Verizon uses multiple Access Points (Antennas) throughout the public venue, that transmit WIFI

to handheld wireless devices,” as shown below:




                                                 7
            Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 11 of 15




Dkt. 1-1, Ex. A, at 1.




Id. at 2.

        But “access points” is a generic term not explicitly tied to any specific Verizon product or

system. Thus, “[t]he statement claiming infringement fails to reasonably inform Defendant as to

what devices or practices, if any, are accused of infringement.” Estech, 2020 WL 6324321, at *2.

Indeed, it would be troubling if Arena were accusing such generic wireless technology as

infringing, given the statements in the background section of the ‘820 Patent that admit that such

wireless technology has already “found its place in sports and entertainment venues over the past

decade.” Dkt. 1-2 (’820 Patent), at 1:34-36; see also id. at 1:49-52 (“Wireless communication can

be provided to handheld devices via cellular and 802.11 (Wi-Fi) systems . . . New sports and

entertainment venues are now being designed and built to incorporate wireless data

communications infrastructure in order to enable enhanced spectator experiences.”). This is

because “[a] plaintiff cannot establish why it is plausible that the accused product infringes the

patent claim by merely articulating why it is plausible that the accused product practices the prior




                                                8
        Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 12 of 15




art. Pleading only the latter begs the obvious alternative explanation that the accused infringer is

merely practicing the prior art.” Vervain, 2022 WL 23469, at *5 (internal quotations omitted).

        Here, both the Complaint and Exhibit A reference nothing more than a generic class of

wireless technology – “access points” – that is at least as, if not more, “unclear and ambiguous” as

Estech’s reference to “VoIP telephone systems.” Because “there can be no infringement when

Plaintiff has failed to identify an accused product,” Arena’s Complaint should be dismissed. See

Estech, 2020 WL 6324321, at *2.

        C.      Arena’s Complaint Fails to Allege Facts Sufficient to Create a Plausible
                Inference that Each Element of the Claim is Infringed

        Even assuming “Verizon Access Points” was sufficient to put Verizon on notice as to what

specific product is accused of infringement (it is not), Arena’s Complaint still fails to state a claim

for relief because Arena fails to allege any facts “sufficient to create a plausible inference that each

element of the claim is infringed” by such access points. See CPC Patent Techs., 2022 WL 118955,

at *1. To support its direct infringement allegations, Arena relies on the “claim chart” attached as

Exhibit A to the Complaint. Arena’s chart offers nothing but screenshots from some unidentified

recitation of functionality and the claim language, all of which fails to allege facts “sufficient to

create a plausible inference that each element of the claim is infringed.” CPC Patent Techs., 2022

WL 118955, at *1.

        As to the third element of Claim 15, for example, Arena alleges:




                                                  9
        Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 13 of 15




Dkt. 1-1, Ex. A, at 3. It then annotates a Verizon video found on YouTube, presumably to suggest

that some undisclosed Verizon product allows spectators to order food from their seats with their

handheld devices. But the portion of the video excerpted by Arena’s allegation does not relate to

any such ordering of food. See Dkt. 1-1 at 3. The facts alleged, thus do not create a plausible

inference that this element is met by any Verizon product.

       Finally, in discussing the final limitation of Claim 15, Exhibit A alleges:




Dkt. 1-1, Ex. A, at 4. As factual support, Arena annotates a Verizon video found on YouTube and

a Verizon document, presumably to suggest that Verizon provides data including video from at

least one serve accessed over a data network by the hand held device. But the cited materials do



                                                10
           Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 14 of 15




not state any factual support for the allegation that Verizon performs the act of providing the video

data from a server. Rather, Arena merely parrots the claim language.

       Put simply, there is nothing that provides a factual basis to support Arena’s allegations that

Verizon “maintains, operates, and administers systems” that “provide data including video from

at least one server accessed over a data network through said at least one contained in a self-

contained pod by said hand held wireless devices located throughout the public venue,” as required

by this element of claim 15. Accordingly, Arena’s complaint fails to state a claim upon which

relief can be granted and dismissal is warranted. See De La Vega v. Microsoft Corp., No. 6:19-cv-

00612, 2020 WL 3528411, at *6-7 (W.D. Tex. Feb. 11, 2020) (dismissing with prejudice direct

infringement claim because the complaint was “devoid of [factual] allegations that would support

an inference that [defendant] (or anyone) performs the [required claim] steps”).

IV.    CONCLUSION

       For the foregoing reasons, Verizon respectfully requests the Court grant its motion to

dismiss.




                                                 11
      Case 6:23-cv-00054-DAE Document 16 Filed 04/10/23 Page 15 of 15




Dated: April 10, 2023                         /s/ Kevin P. Anderson, with permission
                                         by Shaun W. Hassett
                                             Holly Engelmann
                                             Texas Bar No. 24040865
                                             Hengelmann@duanemorris.com
                                             DUANE MORRIS LLP
                                             Las Cimas IV
                                             900 S. Capital of Texas Hwy, Suite 300
                                             Austin, Texas 78746-5435
                                             Telephone: (512) 277-2300
                                             Facsimile: (512) 277-2301

                                             Kevin P. Anderson
                                             KPAnderson@duanemorris.com
                                             DUANE MORRIS LLP
                                             901 New York Avenue N.W.,
                                             Suite 700 East
                                             Washington, DC 20001-4795
                                             Telephone: (202) 776 5213
                                             Facsimile: (202) 776 7801

                                             Michael E. Jones
                                             SBN: 10929400
                                             Shaun W. Hassett
                                             SBN: 24074372
                                             POTTER MINTON, PC
                                             102 N. College, Suite 900
                                             Tyler, Texas 75702
                                             Tel: 903-597-8311
                                             Fax: 903-593-0846
                                             mikejones@potterminton.com
                                             shaunhassett@potterminton.com

                                             Attorneys for Defendant VERIZON
                                             COMMUNICATIONS INC.




                                    12
